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  9    LLC (incorrectly named as MacMillan
       Publishers, Ltd.)
10
                                         UNITED STATES DISTRICT COURT
11
                                     CENTRAL DISTRICT OF CALIFORNIA
12
13 DAVID ZINDEL, as Trustee for the David                 Case No. 2:18-cv-01435-PA-KS
   Zindel Trust and the Lizabeth Zindel Trust,
14                                                        ORDER
                         Plaintiff,
15
         vs.
16
   FOX SEARCHLIGHT PICTURES, INC., a
17 Delaware corporation; TWENTIETH
   CENTURY FOX FILM CORPORATION, a
18 Delaware corporation; TSG
   ENTERTAINMENT FINANCE LLC, a
19 Delaware limited liability company;
   MACMILLAN PUBLISHERS, LTD., a
20 subsidiary of a German limited liability
   company; GUILLERMO DEL TORO, an
21 individual; DANIEL KRAUS, an individual;
   and DOES 1 through 10, inclusive,
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                         Defendants.
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      ORDER
      4831-6797-2062v.3 0086829-000058
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  1            Having considered the parties’ stipulation, and for good cause having been
  2 shown, the parties’ stipulation is hereby approved.
  3            IT IS HEREBY ORDERED that the deadline for initial expert witness
  4 designations and reports shall be moved from March 1, 2021 to March 15, 2021;
  5            IT IS FURTHER ORDERED that the deadline for rebuttal expert witness
  6     designations and reports shall be moved from March 22, 2021 to April 5, 2021.
  7
  8 DATED: February 26, 2021
  9
                                                By:
10                                                             Percy Anderson
                                                          United States District Judge
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      ORDER
      4831-6797-2062v.3 0086829-000058
